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                            U NITED STA TES D ISTR ICT C O U R T
                            SO U TH ER N DISTR ICT O F FLO R IDA
                          CA SE N O .18-80533-C V-M ID D LEBR O O K S

  M ARIA LOPEZ SA N CHEZ,

         Plaintiff,



  A LLIGA TOR LA N D SCM IN G lN C.,a Florida
  colw ration,and JUSTO N AR AN JO ,ow ner,asan
  individual,

         Defendant.
                                                 /

                                              O R D ER

         TH IS CAU SE com es before the Courtupon PlaintiffM aria Sanchez Lopez's M otion for

  Attorney Feesand Costs(ûtM otion forFees'')(DE 29),tiled July 9,2019,to which Defendants
  AlligatorLandscapingInc.andJustoNaranjorespondedonJuly23,2018(DE 30);andPlaintiffs
  M otion to Strike Portions of Defendants' Response to Plaintiff s M otion for Attorney Fees

  ClMotiontoStrike'')(DE 31),filedJuly25,2018,towhichDefendantrespondedonJuly26,2018
  (DE 32)and Plaintiffreplied on August9,2018 (DE 33). Forthe reasonssetforth below,the
  M otion to Strike isdenied and the M otion forFees is granted in part.

         1.      BA CK G RO UN D

         Plaintiffinitiated this law suiton A pril23,2018. (DE 1).SheallegedthatDefendantshad

  violatedtheFairLaborStandardsAct,29U.S.C.j201etseq.(ttFLSA'')by failing to pay her
  regulartime and overtime wages. tftf !! 27-46). On June26,2018,the Courtapproved the
  Parties'settlement.(DE 25).Plzrsuanttothetennsofthesettlement,Plaintiffreceived$2,746.16
   in dnmages. (DE 25). ThePartieschose to litigateattorney feesafterthe Cotu'tapproved the
   settlementaward.(DE 24).

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          In theM otion forFees,Plaintiffnow movesforan award of$7,732.50 in attorney feesand

  $480.00 in costs. (DE 29). Defendants challenge the nmountofattorney fees requested by
  Plaintiff.(DE 30).Additionally,PlaintiffmovestostrikecertainexhibitsattachedtoDefendants'
  responsetoPlaintiffsMotionforFees.(DE 31).
          lI.    M O TIO N TO STR IK E

          In the M otion to Stdke,Plaintiff argues thatExhibits C,D ,E,F,and G should be stricken

  because they violate FederalRule ofEvidence 408,which prohibitsthe adm ission ofevidence of

  settlem entoffersand acceptancesand ofstatem entsm ade during settlem entnegotiations. Fed.R .

  Evid.408(a). FederalRule ofCivilProcedure 12(9 providesthata kûcoul'tmay strike from a
  pleading an insufscientdefense or any redundant,im m aterial,im pertinent,or scandalousm atter.''

  Fed.R.Civ.P.12(9.M otionstostrikeareç:adrasticremedy''thataregenerallydisfavoredbythe
  courts.Augustusv.BoardofpublicInstruction,306F.2d862,868(5thCir.1962)1(quotingBrown
  (f7WilliamsonTobacco Corp.v.UnitedStates,201F.2d 819,821(6thCir.1953)).Accordingly,
  such m otions ûtw ill usually be denied tm less the allegations have no possible relation to the

  controversyand maycauseprejudicetooneoftheparties.''Id.
          FederalRule ofEvidence 408 prohibitsthe adm ission ofevidence ofoffers ornegotiations

  to settle tta claim ''forthe purpose ofproving the validity or am ountofkûthe claim .'' Fed.R.Evid.

  408. Rule 408 also contains an exception thatadm its thistype ofevidence ûtforanotherpurpose,

  suchasprovingawitness'sbiasorprejudice,negatingacontentionofunduedelay,orprovingan
  efforttoobstructacriminalinvestigation orprosecution.''Fed.R.Civ.P.408(b). Thetestfor
  w hether a particularpiece ofevidence is inadm issible underRule 408 is whether the statem entis

  intended to be pal'tofthe negotiationstoward compromise. Blu-l 1nc v.Kemper C.P.A.Group,


   1The Eleventh Circuithasrecor izedthe case 1aw oftheformerFifth Circuitpriorto 1981asitsgoverning
  body ofprecedent.Bonnerv.City ofprichard,661F.2d 1206 (1lth Cir.l981).
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  916F.2d637,642(11th Cir.1990)(citingRamada Dev.Co.v.Rauch,644 F.2d 1097,1106(5th
  Cir.1981)).
         Here,Plaintiffseeksto strike five exhibitsto Defendant'sresponse to Plaintiffs M otion

  forFees--zExhibitsC,D,E,F,and G. (DE 31).ExhibitsC,D,E,andF arecopiesofemailsthat
  contain settlementoffersordiscusssuch offers. (DE 30,ExhibitsC,D,E,& F).ExhibitG isa
  copy ofan infonnationalfactsheetpublished by the U .S.Departm entofLabor,titled tûFactSheet

  #22:HoursW orked UndertheFairLaborStandardsAct(FLSAI.'' (DE 30,ExhibitG). Tilis
  docllm entseem sto bearno relation to any settlem entoffersornegotiations,and Plaintiffdoesnot

  explain how orw hy thisw ould have been intended as partofsuch negotiations. A s to ExhibitG ,

  Plaintiff sM otion to Strike isdenied.

         The M otion to Strike is also denied as to Exhibits C through F. Though those exhibits

  include settlem entoffers or discussions of settlem entnegotiations,the exhibits have not been

  offered to prove the validity ofPlaintiff sclaim . Plaintiff s claim hasalready been settled by the

  Partiesand approved by the Court. (DE 25). The exhibits areinstead offered to show the
  reasonablenessorunreasonablessofPlaintiff sattorney fees,which istheonly thing stillin dispute

  between the Parties. ExhibitsE and F,forexam ple,are offered to challenge the reasonablenessof

  theamountoftimePlaintiffsattorney spentwritingtheemailscontainedin thoseexhibits.(DE
  30at4-5). ExhibitsC andD seem tobeofferedto suggestthatPlaintiffmay haveinitiatedthis
  lawsuit asopposedto settlingPlaintiffsclaim withoutjudicialintervention in orderto drive
  up Plaintiffsattorneyfees.z (1d.at1-2).


  ?Exhibits C isalso potentially outside the purview ofRule 4085sprohibition.ExhibitC containsan em ail
  thatmemorializesa phone callbetween the Parties'attorneys,in w hich they agreed to allow Defendant
  time to review Plaintiffsclaimsand settlementdemand. (DE 30,ExhibitC). ExhibitC thusdoesnot
  appearto be apartofsettlementnegotiations,butmerely m emorializesaconversation in which apotential
  settlementwasdiscussed.
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          A lthough the Eleventh Circuithas notdecided the issue,several circuitcourts have held

  thatttsettlem entnegotiations m ay be considered by the districtcourtas a factor in determ ining a

   feeawazd.''Ingram v.OrouWian,647F.3d925,927(9thCir.2011)(usingevidenceofsettlement
   negotiations to determ ine attorney fees in a case broughtunderthe Fair H ousing A ct,42 U .S.C.

   jj3601-3619);seealso Lohmanv.Dutyea Borough,574 F.3d 163,167 (3d Cir.2009)(çlRule
   408 doesnotbaracourt'sconsideration ofsettlem entnegotiation in itsanalysisofw hatconstitutes

   areasonablefeeaward in aparticularcase.''). ItindthatRule408'sexceptionprovision allows
  this type evidence to be adm itted for this pup ose. A ccordingly,Plaintifrs M otion to Stdke is

   denied.

          111.   M O TIO N FO R FEES

          A reasonable attorney fee award tlisproperly calculated by m ultiplying thenllm berofhours

   reasonably expended on the litigation tim es a reasonable holzrly rate.'' Blum v.Stenson,465 U .S.

   886,888(1984).Thefeeapplicantbearstheburden ofdocumentingûltheappropriatehoursand
   hourlyrates.''Normanv.Hous.Auth.ofM ontgomery,836F.2d 1292,1303(11th Cir.1988).The
  productofthese two tigures isthe lodestar and there isa llstrong presllm ption''thatthe lodestar is

  thereasonable sum theattorney deserves. SeePennsylvaniav.Del.Valley Citi
                                                                         zen'sCouncilfor
   Clean Air,478 U.S.546,565-66 (1986). A ftercalculating the lodestar,the courtdeterm ines
   whetherany portion ofthisfeeshould be adjusted upwardsordownwardsforresultsobtained.
  N orm an,836 F.2d at 1302.

          tûA reasonableholzrly rateistheprevailing m arketratein therelevantlegalcomm llnityfor

   sim ilar services by law yers of reasonably com parable skills,experience, and reputation. Id at

   1299(citingBlum,465U.S.at895-96n.11).Indeterminingwhatconstitutesareasonablehourly
  rate,the courtm ay considerthe twelve factors descdbed in Johnson v.G eorgia H ighway Express,


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  fna,488F.2d714,717-19(5th Cir.1974).3 TheJohnsonfactorsinclude:(1)thetimeandlabor

  required;(2)thenoveltyanddiffkultyofthequestions;(3)theskillrequisitetoperform thelegal
   serviceproperly;(4)thepreclusionofemploymentbytheattonwyduetoacceptanceofthecase;
   (5)thecustomary fee;(6)whetherthefeeisfixedorcontingent;(7)timelimitationsimposed by
  the client or the circumstances;(8) the nmount involved and the results obtained;(9) the
   experience,reputation,andabilityoftheattorneys;(10)thetûundesirability''ofthecase;(11)the
   natlzreandlengthoftheprofessionalrelationship withtheclient'
                                                              ,and(12)awardsinsimilarcases.
  SeeJohnson,488 F.2d at717-19.

         A courtmustlook to the ûtbilling judgment''ofthe attorney and exclude çlexcessive,
  redtm dant,or Ilnnecessary hours''w hen evaluating the hours reasonably w orked. N orman,836

   F.2d at1301(citing Hensley v.Eckerhart,461U.S.424,434,437 (1983))(internalquotations
   omitted).W henadistrictcourtfindsthenumberofhoursclaimedistmreasonablyhigh,thecourt
  has two choices: itm ay conduct an hour-by-hour analysis or itm ay reduce the requested hours

  withanacross-the-board cut.SeeLoranger,10F.3dat783.lmportantly,çlgtlhecourt...isitself
   an expert on the question and m ay consider its ow n know ledge and expedence concenûng

  reasonable and properfeesand may fonn an independentjudgmentwith orwithoutthe aid of
  witnessesastovalue.''Norman,836F.2dat1303(citationsandinternalquotationsomitted).
         In theM otion forFees,Plaintiffrequests$7,732.50 in attorney feesand $480.00 in costs.

  PlaintiffscotmselDavid C.W iitala(dtcounsel'')spent17.7 hotlrsworking on thiscase,and he
  billsatarate of$350.00perhour. Counsel'sparalegal(ttparalegal'')billsatan hourly rate of


  3TheEleventhCircuithasexplainedthattçlallthough(thislbalancingtesthassincebeendisplaced
  by the lodestarform ula,w e have expressed ourapprovalofdistrictcourtsconsidering theJohnson
  factors in establishing a reasonable hotzrly rate.'' foranger v.Stierheim, 10 F.3d 776,781 n.6
   (11th Cir.1994)(citation omitted).

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  $125.00 and spent12.3 hotlrsworking on thism atter. Defendantdoesnotchallenge the $480.00

  in costs.(DE 30at6).DefendantalsodoesnotcontestCounselorParalegal'shourlyrates.(Id.
  at5).DefendantobjectsonlytotheamountoftimethatCotmselandParalegalspentworkingon
  the case.

          DefendantfirstarguesthattheCourtshouldreducePlaintiffsattorneyfeesby90% .(Id
  at4).GiventhatCounselsuccessfullyrecoveredPlaintiffstmpaidwagesandliquidateddamages,
  ldo notagreethatCounsel'sperformancedeservesonly 10% ofhisalleged fees.And whilelam

  concerned that Counsel's requested attorney fees are treble the am ount ofPlaintifFs dnm ages,I

  do notthink thatCounsel's feesare so tmreasonable w hen com pared to the claim asto m eritsuch

  a drastic across-the-board reduction.

          D efendant next challenges specific line item s on Counsel's and Paralegal's tim e sheets.

   tf#.at4-.
           5). IagreewithDefendantthatcertain itemsappeartobellnreasonable.Cotmselstates
  that he spent 0.70 hours review ing a two-page inform ational fact sheet published by the U .S.

  DepartmentofLabor.(DE 29at20,seealsoDE 30,ExhibitG).1instead award 0.20hoursfor
  this task. Counselalso recordsthathe spent5.5 hours conducting legalresearch before drafting

  theComplaint. (DE 29at20).TheissuesreseazchedbyPlaintiffaremattersofwell-settledlaw
   in the Eleventh Circuit,and do notrequire so m any hours to find binding precedent. Iw illaw ard

   Plaintiff2.0 hottrs for legalresearch. W ith those exceptions,the restofCotm seland Paralegal's

  tim e sheets appeaz reasonable.

          H aving reduced Cotm sel'stim e by 4 hours,the am ountofhours reasonably expended by

   Counselis13.7hours.Athishotlrly rateof$350.00,Counsel'sattorneyfeesamolmtto $4,795.00

  tmderthe lode starmethod. Using the snm e method,Paralegal'sreasonable holzrly rate,$25.00,




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  multiplied by the reasonable holzrs expended,12.3,nmountsto $1,537.50. Together,Plaintiff's

  attorney feesequal$6,335.50 and Plaintiff'scostsnmountto $480.00.
        Accordingly,itishereby O R D ER ED A ND A DJUD G E D that

        (1)Plaintiffs M otion for Attorney Fees (29) isGRANTED IN PART. Plaintiffis
            awarded $6,815.50 in attorney feesand costs.

        (2)PlaintiffsMotiontoStrike(DE 30)isDENIED.
  SIGNED inChambersinW estPalm Beach,Florida,tlnis          day                  .

                                                  D     LD M .M ID DLEBRO O K S
                                                  UN ITED STA TES D ISTR CT JUD G E
  Cc:   Counselofrecord
